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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

TIFFANY JOHNSON,                                 *

         On behalf of herself individually       *
         and similarly situated persons,
                                                 *
         Plaintiff,
v.                                                       Civil Action No. 8:22-cv-02001-PX
                                                 *

CONTINENTAL FINANCE COMPANY,
                                                 *
LLC, et. al.,
                                                 *
         Defendants.

     *        *        *      *      *       *       *      *      *        *    *      *

                           NOTICE OF WITHDRAWAL OF COUNSEL

         Please withdraw the appearance of Brandi G. Howard of McGuireWoods LLP, as co-

counsel of record for Defendants Continental Finance Company, LLC and Continental Purchasing,

LLC (collectively “Defendants”), in the above-captioned matter. Defendants continue to be

represented in this matter by Melissa O. Martinez of McGuireWoods LLP.


 Date: September 28, 2023                         Respectfully submitted,

                                                  /s/ Brandi G. Howard
                                                  Brandi G. Howard (Md. Fed. Bar No. 21250)
                                                  MCGUIREWOODS LLP
                                                  888 16th Street N.W., Suite 500
                                                  Black Lives Matter Plaza
                                                  Washington, DC 20006
                                                  202-857-2438
                                                  202-828-3338 (Fax)
                                                  bhoward@mcguirewoods.com
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                           Melissa O. Martinez (Fed. Bar No. 28975)
                           MCGUIREWOODS LLP
                           500 East Pratt Street
                           Suite 1000
                           Baltimore, MD 21202
                           410-659-4400
                           410-659-4482 (Fax)
                           mmartinez@mcguirewoods.com

                           Counsel for Defendants Continental Finance
                           Company, LLC and Continental Purchasing LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 28, 2023, true and exact copies of the foregoing

Notice of Withdrawal of Counsel was served via the court’s electronic filing system upon all

counsel of record.



                                                           /s/ Brandi G. Howard
                                                           Brandi G. Howard




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